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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

MICHELLE L. CLARK Case Number

Plaintiff,
CIVIL COMPLAINT
VS.

ACADEMY COLLECTION SERVICE,
INC.

JURY TRIAL DEMANDED

a a ee

Defendant.
COMPLAINT AND JURY DEMAND

 

COMES NOW, Plaintiff, Michelle L. Clark, by and through her undersigned
counsel, Warren & Vullings, LLP, complaining of Defendant and respectfully avers as

follows:

I. INTRODUCTORY STATEMENT

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1. Plaintiff, Michelle L. Clark, (hereinafter “Plaintiff’), an individual
consumer, brings this action for actual and statutory damages and other relief against
Defendant for violations to the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.
(“FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive and
unfair practices. Plaintiff also brings this action pursuant to the Pennsylvania Fair Credit
Extension Uniformity Act, 73 P.S. § 2270.1 et seq. (FCEUA”) and the Pennsylvania

Unfair Trade Practices and Consumer Protection Law (SUTPCPL”), 73 Pa. C.S. § 201-1 et

seq.

IL. JURISDICTION
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2. Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C,
81337. Declaratory reliefis available pursuant to 28 U.S.C §2201 and 2202.

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3, Venue in this District is proper in that the Defendant transacts business here

and the conduct complained of occurred here,

4, Supplemental jurisdiction is conferred over Plaintiff's state law claims by

28 U.S.C. §1367(a).
Tl. PARTIES

5, Plaintiff is an adult individual and citizen of the Commonwealth of

Pennsylvania residing at 2027 Kimball Street, Philadelphia, Pennsylvania 19146.

6. Defendant, Academy Collection Service, Inc. (“Defendant”), at all times
relevant hereto, is and was a corporation engaged in the business of collecting debt within

the Commonwealth of Pennsylvania with its principal place of business located at 10965

7, Defendant is engaged in the collection of debts from consumers using the
mail. Defendant regularly attempts to collect consumer debts alleged to be due to another.

Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).
TV. FACTUAL ALLEGATIONS

&. On or about June 8, 2007, an agent of the Defendant indicating that they

had “taken over” her account with JCPenny Credit.

9, Prior to June 8, 2007 Plaintiff had been making regular payments to an

agency representing JCPenny in the amount of $50.00 per month.
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10. The agent of the Defendant indicated to Plaintiff that she was a “deadbeat”

because she could not make larger payments.

11. The agent further indicated to Plaintiff that her file would be marked a

“refusal to pay” and he would ruin her credit and disconnected the call.

12. Plaintiff called back the Defendant Corporation and requested a supervisor,

the agent identified as a supervisor told Plaintiff to stop complaining and pay up.

COUNT I
FDCPA VIOLATION 15 U.S.C. § 1692 et seq.

13. The above paragraphs are hereby incorporated herein by reference.

14, Defendant violated the FDCPA. Defendant’s violations include, but are not
limited to the following:

a. 15 U.S.C. 1692e(10), in that Defendant used false representations or
deceptive means to collect or attempt to collect the alleged debt as stated more clearly

above.

b. 15 U.S.C. 1692e(11), in that Defendant failed to state in its initial telephone
call or any subsequent calls or written communications that it was a debt collector
attempting to collect a debt and that any information obtained would be used for that

purpose.

c. 15 U.S.C. 16924, in that Defendant engaged in conduct the natural
consequence of which is to harass, oppress, or abuse Plaintiff in connection with the

co.lection of a debt.
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15. Asaresult of the foregoing violations of the FDCPA, Defendant is lable to
Plaintiff for a declaratory judgment that Defendant’s conduct violated the FDCPA, actual

damages, statutory damages, attorney’s fees and costs and other appropriate relief,

pursuant to 73 PLS. § 201-9.2.

WHEREFORE, Plaintiff respectfully requests that this court enter judgment in her

favor and against Defendant and Order the following relief:

a. Declaratory judgment that the Defendant’s conduct violated the FDCPA;

b. Actual damages;

c, Statutory damages pursuant to 15 U.S.C. §1692k;

d. Reasonable attorney’s fees and costs of suit pursuant to 15 U.S.C. §1692k;
and

e. Such addition and further relief as may be appropriate or that the interests of
justice require.

COUNT I
VIOLATIONS OF PENNSYLVANIA FAIR CREDIT EXTENSION
UNIFORMITY ACT

(FCEUA, 73 Pa. C.S. § 2270.1 et seq.

16. Plaintiff repeats and realleges and incorporates by reference the foregoing

paragraphs.

17. The collection of debt in Pennsylvania is proscribed by the Fair Credit
Extension Uniformity Act at 73 Pa. C.S. §2270.1 et seq., (FCEUA”) and the Pennsylvania
Unfair Trade Practices and Consumer Protection Law 73 Pa. C.S. 201-1 et seq.

(“UTPCPL”). Defendants are “debt collectors” pursuant to 73 Pa. C.S. 2270.3.
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18. The alleged debt Defendants were attempting to collect is a “debt” as

defined by 73 Pa C.S. §2270.3

19. The PCA proscribes, inter alia, engaging in any false, misleading or
deceptive representations when attempting to collect a consumer debt.

20, The actions of Defendants, as aforesaid, constitute false, misleading or

deceptive represetnations.

21. Violations of the FDCPA is a per se violation of the FCEUA and the

UTCPL.

28. Asadirect and proximate result of the said actions, Plaintiff has suffered

financial harm.

22. By virtue of the violations of law as aforesaid, and pursuant to the FCEUA
and UTPCPL, Plaintiff is entitled to an award of actual damages, treble attorneys’ fees and

costs of sult.

WHEREFORE, Plaintiff prays this Honorable Court enter judgment in her favor

and against Defendant, and Order the following relief:

a. Actual damages;
b. Treble damages;
c, An award of reasonable attorneys fees and expenses and costs of suit; and
d. Such additional relief as is deemed just and proper, or that the interests of

justice may require.
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COUNT UI

VIOLATIONS OF PENNSYLVANIA CONSUMER PROTECTION LAW
(SUTPCPL”), 73 Pa. C.S. §201-1 et seq.

23. The foregoing paragraphs are incorporated herein by reference.
24, Plaintiff and Defendant are “‘Person[s|” pursuant to 73 Pa. C.S. §201-2.

25, The UTPCPL proscribes, inter alia, engaging in any “unfair or deceptive

acts or practices” either at, prior to, or subsequent to a consumer transaction.

26. The actions of Defendant, as aforesaid, constitute unfair or deceptive acts

and practices under the UTPCPL, by way of the following, inter alia:

a. Defendant misrepresented to Plaintiff the character, extent, or amount of the

debt or its status in a legal proceeding, 73 P.S> §201-3.1;

b. Defendant engaged in fraudulent or deceptive conduct which created a
likelihood of confusion or of misunderstanding, 73 P.S. §201-2(xxi);

C, Defendant failed to complay with the FDCPA and FCEUA which are per se

violations of the UTPCPL;

27. Asa direct and proximate result of the said actions, Plaintiff has suffered

financial damages and other harm.

28. By virtue of the violations of law as aforesaid, and pursuant to the
UTPCPL, Plaintiffis entitled to an award of actual damages, treble damages, attorney’s

fees and costs of suit.

WHEREFORE, Plaintiff prays this Honorable Court enter judgment in her favor

and against Defendant, and Order the following relief:
Date:

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i. An Order declaring that Defendant violated the UTPCPL;

i. Actual damages;

iil. Treble damages;

iv. An award of reasonable attorney’s fees and expenses and costs of
suit; and

v. Such addition relief as is deemed just and proper, or that the

interests of justice may require.

Vv. JURY DEMAND

Plaintiff hereby demands a jury trial as to all issues herein.

August 1, 2007

Respectfully submitted,
WARREN & VULLINGS, LLP

BY: /s/_ Bruce K, Warren
Bruce K. Warren, Esquire

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